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Hillsborough County

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IN TH_E ClRCUIT COURT ]N AND FOR THE THIRTEENTH JUDICIAL CIRCUIT lN AND
FOR HILLSB OROUGH COUNTY, FLOR]])A '
GENERAL CIVIL DIVISION

VICTORIA W[LLIAMS-MIRTH,

Piaintiff,
V. Case No.: 16-CA-011752

CAP;TAL ONE BANK (USA) N.A.

Defendant,
/

NOTICE OF VOLUNTARY DISMISSAL WITH PREJUDICE AS TO FORMER
DEFENDANT M:[DL_AND CREDIT MANAGEMENT, INC.

Plaintiff` Victoria Wil!iamS-Mirth voluntari!y dismisses with prejudice the claims alleged
in the original Complaint as to fortner Defendant Midlzmd Credit Management, lnc. only,

pursuant to Fforida Rule cf Civil Procedure 1.420(&)(1).

/s/ Stthen J. Bagge
Florida Bar Number: 97788
STEPHEN J. BAGGE, P.A.
3902 Henderson
Suite 208-30
Tampa, Florida 33629
Telephone: (813) 250-051!
Facsimile: (813) 250-0511

Arrorney for Plaimi]j‘ Vicrorr'a
Wiilianvs-Mrth

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CERT[FICATE ()F SERVICE
I }[EREBY CERTIFY that a true and correct copy of the foregoing Was furnished to the

C!erk of the Court on January 26, 2017

/s/ Sleghen J. Bagge

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